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   STATE OF COLORADO, ss:

           I,      Cheryl Stevens , Clerk of the Supreme Court of t h e S t a t e
   o f Colorado, do hereby certify that
                          Alexandra Oakley Schluntz


has been duly licensed and admitted to practice as an


     ATTORNEY AND COUNSELOR AT LAW

within this State; and that his/her name ap pears upon the Roll of Attorneys

 a nd Counselors at Law in my office of date the                    19th

day of      August                             A.D.      2021      and that at the date hereof

the said        Alexandra Oakley Schluntz                               is in good standing a t

this Bar.


                              IN WITNESS WHEREOF, I have hereunto subscribed my name and
                              affixed the Seal of said Supreme Court, at Denver, in said State, this

                                    10th       day of           June                      A.D.   2022
